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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
- “October 2019 Grand Jury
UNITED STATES OF AMERICA, PLR C007 3 Q - Ft MO
| “plaintiff, | INDEGTMENT

ve [21 U.S.C. $$ 841(a).(1),
(b) (1) (C): Distribution of Heroin

‘BRAD ARAGON, / and Possession with Intent to

Distribute Heroin; 21 U.S.C.
Defendant. §§ 841 (a) (1), (b) (1) (B) (viii):
; Possession with Intent to

Distribute Methamphetamine]

 

 

 

 

The Grand Jury charges:
- _ COUNT ONE
[21 U.S.C. §§ 841 (a) (1), (b) (1) (C)]
On or about August 14, 2018, in Los Angeles County, within the

Central District of California, defendant BRAD ARAGON knowingly and

“intentionally distributed heroin, a Schedule I narcotic drug

controlled substance.

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COUNT TWO
[21 U.S.C. SS 841 (a) (1), (b) (1) (C)] .
on or about ‘January 19, 2019, in Los Angeles County, within the
-Central District of California, defendant’ BRAD ARAGON . knowingly and.

intentionally possessed with intent to distribute. heroin, a Schedule

| I narcotic drug’ controlled substance.

 

 
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COUNT THREE
[21 U.S.C. S§ 841 (a) (1); (b) (1) (B) (wit) ]

On or about January 19, 2019, in Los Angeles County, within the
Central District of California, defendant BRAD ARAGON knowingly and
intentionally possessed with intent to distribute at least five
grams, that is, approximately 6. 5 grams, of methamphetamine, a

Schedule If controlled substance.

‘A TRUE BILL

yal

Foreperson

NICOLA T. HANNA
United States Attorney

BRANDON-D. FOX .
Assistant United States Attorney
Chief, Criminal Division —

SCOTT M., GARRINGER
Assistant United States Attorney
Deputy Chief, Criminal Division

SHAWN J. NELSON

-Assistant United States Attorney

Acting Deputy Chief
General Crimes Section

JULIA S. CHOE
Assistant United States Attorney
General Crimes Section:

 
